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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS
EASTERN DIVISION

ALEXSIS WEBB and MARSCLETTE
CHARLEY, on behalf of themselves and all
others similarly situated, Case No. 1:22-cv-10797-RGS

Plaintiffs,
v.

INJURED WORKERS PHARMACY, LLC,

Defendant.

FINAL APPROVAL ORDER AND JUDGMENT

WHEREAS, the Court, having considered the Settlement Agreement filed July 31, 2024
(the “Settlement”) between and among Alexsis Webb and Marsclette Charley (“Plaintiffs” or
“Settlement Class Representatives”), individually and on behalf of the Settlement Class (defined
below); and (ii) Injured Workers Pharmacy, LLC (“Defendant” or “IWP”), having considered the
Court’s August 9, 2024 Order Granting Preliminary Approval of Class Action Settlement
Agreement and Conditionally Certifying Settlement Class for Settlement Purposes Only
(“Preliminary Approval Order”), having held a Final Approval Hearing on January 16, 2025,
having considered all of the submissions and arguments with respect to the Settlement, and
otherwise being fully informed, and good cause appearing therefore;

IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:

1. Plaintiffs’ Motion for Final Approval of Class Action Settlement Agreement and
Award of Attorneys’ Fees, Costs, and Expenses, and Class Representative Service Awards is

GRANTED.

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2. This Order and Judgment incorporates herein and makes a part hereof, the
Settlement (including its exhibits) and the Preliminary Approval Order. Unless otherwise provided
herein, the terms defined in the Settlement and Preliminary Approval Order shall have the same
meanings for purposes of this Order and Judgment.

3. The Court has personal jurisdiction over Plaintiffs, the Settlement Class Members,
and Defendant for purposes of this settlement, and has subject matter jurisdiction over this matter
including, without limitation, jurisdiction to approve the Settlement, confirm certification of the
Settlement Class for settlement purposes only, to settle and release all claims released in the
Settlement, and to dismiss the Action with prejudice.

I. CERTIFICATION OF THE SETTLEMENT CLASS

4, Based on its review of the record, including the Settlement, all submissions in
support of the Settlement, and all prior proceedings in the Action, the Court finally certifies the
following Nationwide Class (the “Settlement Class”) for settlement purposes only:

All individuals residing in the United States for whom Defendant
has contact information and/or identifying information, such as date
of birth or Social Security number, whose Personal Information was
potentially compromised in the Data Incident disclosed by Injured
Workers Pharmacy in February 2022.

5. Excluded from the Settlement Class are: (1) the judges presiding over this Action,
and members of their direct families, and; (2) the Defendant, their subsidiaries, parent companies,
successors, predecessors, and any entity in which the Defendant or their parents have a controlling
interest, and their current or former officers and directors.

6. Also excluded from the Settlement Class are those persons identified in Exhibit A

hereto, each of whom submitted a timely and valid Request for Exclusion from the Settlement

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Class prior to the Opt-Out Deadline. Such persons shall not receive the benefits of the Settlement
and shall not be bound by this Order and Judgment.

7. For settlement purposes only, with respect to the Settlement Class, the Court
confirms that the prerequisites for a class action pursuant to Federal Rule of Civil Procedure 23
have been met, in that: (a) the Settlement Class is so numerous that joinder of all individual
Settlement Class members in a single proceeding is impracticable; (b) questions of law and fact
common to all members of the Settlement Class predominate over any potential individual
questions; (c) the claims of Plaintiffs are typical of the claims of the Settlement Class; (d) Plaintiffs
and proposed Class Counsel will fairly and adequately represent the interests of the Settlement
Class; and (e) a class action is the superior method to fairly and efficiently adjudicate this
controversy. Any objections to the Settlement have been considered and are hereby overruled.

Il. NOTICE TO THE SETTLEMENT CLASS

8. The Court finds that Notice has been given to the Settlement Class in the manner
directed by the Court in the Preliminary Approval Order. The Court finds that such Notice: (i) was
reasonable and constituted the best practicable notice under the circumstances; (ii) was reasonably
calculated, under the circumstances, to apprise Settlement Class Members of the pendency of the
Action, the terms of the Settlement including its Releases, their right to exclude themselves from
the Settlement Class or object to all or any part of the Settlement, their right to appear at the Final
Approval Hearing (either on their own or through counsel hired at their own expense), and the
binding effect of final approval of the Settlement on all persons who do not exclude themselves
from the Settlement Class; (iii) constituted due, adequate, and sufficient notice to all persons or
entities entitled to receive notice; and (iv) fully satisfied the requirements of the United States

Constitution (including the Due Process Clause), and any other applicable law.

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9. Furthermore, the Court finds that notice under the Class Action Fairness Act was
effectuated within the time required by 28 U.S.C. § 1715, and that ninety (90) days has passed
without comment or objection from any governmental entity.

I. FINAL APPROVAL OF THE SETTLEMENT

10. The Court finds that the Settlement resulted from arm’s-length negotiations
between Class Counsel and Defendant.

11. | The Court hereby finally approves in all respects the Settlement as fair, reasonable,
and adequate, and in the best interest of the Settlement Class.

12. The Court finds that Plaintiff and Class Counsel fairly and adequately
represented the interests of Settlement Class Members in connection with the Settlement.

13. The Settling Parties shall consummate the Settlement in accordance with the terms
thereof. The Settlement, and each and every term and provision thereof, including its Releases,
shall be deemed incorporated herein as if explicitly set forth herein and shall have the full force
and effect of an order of this Court.

IV. DISMISSAL OF CLAIMS AND RELEASE

14. The Action is hereby dismissed with prejudice as to all Parties including the
Settlement Class and without cost to any party, except as otherwise provided herein or in the
Settlement.

15. | Upon the Effective Date, and in consideration of the benefits set forth in the
Settlement, each of the Plaintiffs, the Participating Settlement Class Members, and to each of their
predecessors, successors, heirs, executors, administrators, and assigns of each of the foregoing,
and anyone claiming by, through, or on behalf of them (“Releasors”), shall be deemed to have

fully, finally, and forever released, release, acquit, and forever discharge Defendant and each of

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its present and former parents, subsidiaries, divisions, affiliates, predecessors, successors, and
assigns, Board of Trustees, and the present and former directors, officers, employees, agents,
insurers, reinsurers, shareholders, attorneys, advisors, consultants, representatives, partners, joint
venturers, independent contractors, wholesalers, resellers, distributors, retailers, and the
predecessors, successors, and assigns of each of them as well as covered entities associated with
the Data Incident (“Released Parties”) from all liabilities, rights, claims, actions, causes of action,
demands, damages, penalties, costs, attorneys’ fees, losses, and remedies, whether known or
unknown, existing or potential, suspected or unsuspected, liquidated or unliquidated, legal,
statutory, or equitable, that result from, arise out of, are based upon, or relate to the Data Incident,
and conduct that was alleged or could have been alleged in the Litigation, including, without
limitation, any claims, actions, causes of action, demands, damages, penalties, losses, or remedies
relating to, based upon, resulting from, or arising out of the Data Incident (the “Released Claims”),
provided that nothing in this Release is intended to, does or shall be deemed to release any claims
not arising out of, based upon, resulting from, or related to the Data Incident.

V. ATTORNEYS’ FEES, COSTS, AND EXPENSES AND REPRESENTATIVE
PLAINTIFFS’ SERVICE AWARD

16. The Court awards attorneys’ fees of $358,333.33 and reimbursement of costs and

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expenses in the amount of $ 1,961.70, and payment of a service award in the amount of
$5,000 each to Plaintiffs. The Court directs the Claims Administrator to pay such amounts in
accordance with the terms of the Settlement. Class Counsel, in their sole discretion to be exercised

reasonably, shall allocate and distribute the attorneys’ fees, costs, and expenses awarded by the

Court among Plaintiffs’ counsel of record in the Action.

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VI. OTHER PROVISIONS

17. Without affecting the finality of this Final Approval Order and Judgment in any
way, the Court retains continuing and exclusive jurisdiction over the Settling Parties and the
Settlement Class for the purpose of consummating, implementing, administering, and enforcing
all terms of the Settlement.

18. Nothing in this Final Approval Order and Judgment, the Settlement, or any
documents or statements relating thereto, is or shall be deemed or construed to be an admission or
evidence of any violation of any statute or law or of any liability or wrongdoing by Defendant.

19. In the event the Effective Date does not occur, this Final Approval Order and
Judgment shall be rendered null and void and shall be vacated and, in such event, as provided in
the Settlement, this Order and Judgment and all orders entered in connection herewith shall be
vacated and null and void, the Settling Parties shall be restored to their respective positions in the
Action, all of the Parties’ respective pre-Settlement claims and defenses will be preserved, and the
terms and provisions of the Settlement shall have no further force and effect with respect to the
Settling Parties and shall not be used in the Action or in any other proceeding for any purpose, and
any judgment or order entered by the Court in accordance with the terms of the Settlement shall

be treated as vacated, nunc pro tunc.

IT IS SO ORDERED.

Dated: - By:
/ Ié x, The Honorable Richard G. Stearns
United States District Court Judge

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